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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 1}, 2001 | 03 MDL 1570 (GBD) (SN)

ECF Case

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Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)

GE nav ORDER OF JUDGMENT ON BEHALF OF
MISHTON 23 PLAINTIFF IDENTIFIED AT EXHIBIT A

Upon consideration of the evidence and arguments submitted by plaintiffs in Ashion et al.
p. Al Qaeda Islamic Army et al., 02-cv-6977 (S.D.N.Y.) (GBD) (SN) (“Ashton”) generally, as well
as that submitted by Plaintiff identified in Exhibit A to this Order (who is an immediate family
membet of a victim killed in the terrorist attacks on September 11, 2001), and the Judgment by
Default for liability only against the Islamic Republic of Iran (“Iran”) on 08/26/2015, together with
the entire record in this case, it is hereby;

ORDERED that service of process was effected upon Iran in accordance with 28 U.S.C.
§ 1608(a) for sovereign defendants;

ORDERED that final judgment is entered against Iran and on behalf of the Plaintiffs in
Ashton, as identified in the attached Exhibit A, who is the immediate family members of an
individual killed in the terrorist attacks on September 11, 2001, as described in Exhibit A;

ORDERED that Plaintiff identified in Exhibit A is awarded: solatium damages in the
amount as set forth in Exhibit A;

ORDERED that the Ashton Plaintiff identified in Exhibit A is awarded prejudgment
interest of 4.96 percent per annum, compounded annually, running from September 11, 2001 until

the date of judgment,
ORDERED that Plaintiff identified in Exhibit A may submit an application for punitive
damages, economic damages, or other damages (to the extent such awards have not previously
been ordered) at a later date consistent with any future rulings made by this Court on this issue;
and it 1s

ORDERED that the remaining Ashton Plaintiffs not appearing on Exhibit A, may submit
in later stages applications for damages awards, and to the extent they are for solatium or by estates
for compensatory damages for decedents’ pain and suffering from the September 11, 200! attacks,
they will be approved consistent with those approved herein for the Plaintiff appearing on Exhibit
A.

Dated: New York, New York

Octaber S _, 2021
SO ORDERED:

B Dowels

G . DANIELS
United States District Judge

  
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EXHIBIT A
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